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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON

  UNITED STATES OF AMERICA,                    )
                                               )
        Plaintiff,                             )              Criminal No: 8-133-GFVT
                                               )
  V.                                           )
                                               )
  JASON JERVIS,                                )                         ORDER
                                               )
        Defendant.                             )


                                    *** *** *** ***
         This matter is before the Court on the Report and Recommendation [R. 131] filed

  by United States Magistrate Judge Hanly A. Ingram. The Report and Recommendation

  addresses the reported violations of supervised release conditions by the Defendant, Jason

  Jervis. [R. 99.] Therein he recommends revocation, imprisonment for a term of 12

  months and 1 day, that Jervis be recommended to participate in any educational or drug

  treatment programs offered by the Bureau of Prisons for which he may qualify, and that

  he be designated to the BOP facility that is nearest his home for which he qualifies. [R.

  131.] Further, he recommends that no additional term of supervised release be imposed,

  that this Court grant the motion of the United States dismissing Violations #1 and #3, [R.

  129] and deny as moot Jervis’ motion to obtain a copy of his supervision file. [Id.]

         His Report advises the parties that any objections must be filed within fourteen

  (14) days of service. [Id.] Jervis, through the assistance of Counsel, filed a Response to

  the Report, but states therein that “he has no objection.” [R. 133.]

         Generally, this Court must make a de novo determination of those portions of the

  Report and Recommendation to which objections are made. 28 U.S.C. § 636(b)(1)(c).
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  When no objections are made, this Court is not required to “review . . . a magistrate’s

  factual or legal conclusions, under a de novo or any other standard . . . .” See Thomas v.

  Arn, 474 U.S. 140, 151 (1985). Parties who fail to object to a magistrate’s report and

  recommendation are also barred from appealing a district court’s order adopting that

  report and recommendation. United States v.Walters, 638 F.2d 947 (6th Cir. 1981).

  Nevertheless, this Court has examined the record, and having made a de novo

  determination, it agrees with the Magistrate Judge’s Report and Recommendation.

         Accordingly, the Court being sufficiently and otherwise advised, it is hereby

  ORDERED as follows:

         (1)     The Magistrate Judge’s Report and Recommendation [R. 214] is

  ADOPTED as the opinion of this Court;

         (2)     Jervis’ period of supervised release is REVOKED and he is

  SENTENCED to a term of imprisonment for a term of 12 months and 1 day;

         (3)     No additional term of supervised released shall be imposed after

  completion of this period of detention;

         (4)     The United States’ Motion to Dismiss Violations #1 and #3 [R. 129] is

  GRANTED; and

         (5)     Jervis’ renewed motion to obtain a copy of his supervision file is

  DENIED as moot.

         Further, the Court is pleased to RECOMMEND that Jervis be designated to the

  BOP facility that is nearest his home for which he qualifies and that he be allowed to

  participate in any educational or drug treatment programs offered by the Bureau of

  Prisons for which he may qualify.
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        This 1st day of May, 2012.
